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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OKLAHOMA
                                        TULSA DIVISION

  (1) ROBERT FERRELL, Individually and For               Case No. 19-cv-00610-GKF-JFJ
  Others Similarly Situated,
                                                         JURY TRIAL DEMANDED
       Plaintiff,
                                                         COLLECTIVE ACTION PURSUANT
  v.                                                     TO 29 U.S.C. § 216(b)

  (1) SEMGROUP CORPORATION,

       Defendant.


                                  COLLECTIVE ACTION COMPLAINT

                                                   SUMMARY

           1.       Robert Ferrell (Ferrell) brings this lawsuit to recover unpaid overtime wages and other

 damages from Defendant SemGroup Corporation (SemGroup) under the Fair Labor Standards Act

 (FLSA). See 29 U.S.C. § 201 et seq.

           2.       Ferrell worked for SemGroup as a Chief Inspector.

           3.       Ferrell and the Putative Class Members (as defined below) regularly worked more than 40

 hours a week.

           4.       But these workers never received overtime for hours worked in excess of 40 hours in a

 single workweek.

           5.       Instead of receiving overtime as required by the FLSA, SemGroup classified Ferrell and

 the Putative Class Members as independent contractors, and these workers received a flat amount for

 each day worked (a “day rate”) without overtime compensation.

           6.       Ferrell or the Putative Class Members never received a guaranteed salary.

           7.       This collective action seeks to recover the unpaid overtime wages and other damages owed

 to these workers.
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                                       RELATION TO OTHER CASES

         8.      In accordance with Local Rule 3.1, this matter is not related to any other previously filed

 cases in this Court.

                                         JURISDICTION & VENUE

         9.      This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

 this action involves a federal question under the FLSA. 29 U.S.C. § 216(b).

         10.     Venue is proper under 28 U.S.C. § 1391(b)(1) as SemGroup maintains its headquarters in

 this District and Division.

         11.     Specifically, SemGroup maintains its headquarters in Tulsa, Oklahoma, and SemGroup

 conducts substantial business operations in and around Tulsa, Oklahoma.

                                                  PARTIES

         12.     Ferrell worked for SemGroup as a Chief Inspector from approximately June 2016 until

 July 2017.

         13.     Throughout his employment with SemGroup, Ferrell was paid a day rate with no overtime

 compensation and was classified as an independent contractor by SemGroup.

         14.     In fact, Ferrell’s relationship with SemGroup was an employer/employee relationship.

         15.     Ferrell’s written consent is attached as Exhibit 1.

         16.     Ferrell brings this action on behalf of himself and all other similarly situated workers who

 were classified as independent contractors and paid by SemGroup’s day rate system.

         17.     Each of these workers received a flat amount for each day worked and did not receive

 overtime for hours worked in excess of 40 in a workweek in accordance with the FLSA.

         18.     The collective of similarly situated employees or putative class members sought to be

 certified is defined as follows:

                 All Inspectors employed by, or working on behalf of SemGroup, who
                 were classified as independent contractors and paid a day rate with no
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                overtime at any time during the past 3 years (Putative Class Members).

        19.     The Putative Class Members are easily ascertainable from SemGroup’s business and

 personnel records.

        20.     Defendant SemGroup is a Delaware corporation that maintains its headquarters in Tulsa,

 Oklahoma and may be served with process by serving its registered agent: The Corporation Company,

 1833 South Morgan Road, Oklahoma City, Oklahoma 73128.

                                     COVERAGE UNDER THE FLSA

        21.     At all relevant times, SemGroup has been an employer within the meaning of the Section

 3(d) of the FLSA. 29 U.S.C. § 203(d).

        22.     At all relevant times, SemGroup has been an enterprise within the meaning of Section 3(r)

 of the FLSA. 29 U.S.C. § 203(r).

        23.     At all relevant times, SemGroup has been an enterprise engaged in commerce or in the

 production of goods for commerce within the meaning of Section 3(s)(1) of the FLSA, 29 U.S.C. §

 203(s)(1). SemGroup has and has had employees engaged in commerce or in the production of goods for

 commerce, or employees handling, selling, or otherwise working on goods or materials – such as tools,

 cell phones, and personal protective equipment - that have been moved in or produced for commerce.

        24.     In each of the last 3 years, SemGroup has had annual gross volume of sales made or

 business done of at least $1,000,000.

        25.     At all relevant times, Ferrell and the Putative Class Members were engaged in commerce

 or in the production of goods for commerce.

        26.     SemGroup treated Ferrell and the Putative Class Members as employees and uniformly

 dictated the pay practices applied to Ferrell and the Putative Class Members.

        27.     SemGroup’s misclassification of Ferrell and the Putative Class Members as independent

 contractors does not alter their status as employees for purposes of the FLSA.

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          28.       SemGroup’s uniform day rate scheme, depriving its employees of overtime compensation

 for weeks in which these workers work over 40 hours is, in of itself, a violation of the FLSA. 29 U.S.C. §

 207(a) & (e).

                                            FACTUAL ALLEGATIONS

          29.       SemGroup operates crude oil pipelines, storage, and terminals throughout North

 America.1

          30.       To complete its business objectives, SemGroup hires personnel, such as Ferrell, to

 perform inspection services.

          31.       SemGroup considers Ferrell and the Putative Class Members to be contractors.

          32.       But SemGroup does not hire these workers on a project-by-project basis.

          33.       Rather, SemGroup hires and treats these workers just like regular, even if sometimes short

 term, employees.

          34.       Many of these individuals worked for SemGroup on a day rate basis (without overtime

 pay).

          35.       These workers make up the proposed Putative Class.

          36.       For example, Ferrell worked for SemGroup as an Inspector from approximately June 2016

 until July 2017.

          37.       As an Inspector, Ferrell’s primary job duties include reviewing daily reports, ensuring

 SemGroup’s policies and procedures are followed, attending daily inspector meetings, and coordinating

 with the crew and/or Super Chief Inspector.

          38.       Ferrell did not exercise discretion and judgment as to matters of significant.

          39.       Ferrell was a blue-collar worker.




 1
     https://www.semgroup.com/AboutUs/Overview.aspx (last visited November 11, 2019).
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        40.     Throughout his employment with SemGroup, he was classified as an independent

 contractor and paid on a day rate basis.

        41.     Ferrell and the Putative Class Members work for SemGroup under its day rate pay scheme.

        42.     Ferrell and the Putative Class Members do not receive a salary.

        43.     If Ferrell and the Putative Class Members did not work, they did not get paid.

        44.     Ferrell and the Putative Class Members receive a day rate.

        45.     Ferrell and the Putative Class Members do not receive overtime pay.

        46.     This is despite the fact that Ferrell and the Putative Class Members often work 12 to 16

 hours a day, for 7 days a week, for weeks at a time.

        47.     Although Ferrell typically worked 7 days a week, for at least 12 hours a day, he did not

 receive any overtime pay.

        48.     Ferrell and the Putative Class Members received the day rate regardless of the number of

 hours they worked, and even if they worked more than 40 hours in a workweek.

        49.     Without the job performed by Ferrell and the Putative Class Members, SemGroup would

 not be able to complete its business objectives.

        50.     Ferrell and the Putative Class Members relied on SemGroup for work and compensation.

        51.     Ferrell and the Putative Class Members worked in accordance with the schedule set by

 SemGroup and/or its clients.

        52.     Ferrell and the Putative Class Members cannot subcontract out the work they are assigned

 by SemGroup.

        53.     Ferrell and the Putative Class Members must follow SemGroup and/or its clients’ policies

 and procedures.

        54.     Ferrell and the Putative Class Members’ work must adhere to the quality standards put in

 place by SemGroup and/or its clients.

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         55.    Ferrell and the Putative Class Members did not substantially invest in the tools required

 to complete the overall job to which they were assigned.

         56.    Ferrell and the Putative Class Members did not market their services while employed by

 SemGroup.

         57.    Ferrell and the Putative Class Members worked exclusively for SemGroup during the

 relevant period.

         58.    Ferrell and the Putative Class Members did not incur operating expenses like rent, payroll,

 marketing, and/or insurance.

         59.    SemGroup and/or its clients set Ferrell and the Putative Class Members’ work schedule,

 which prohibited them from working other jobs for other companies while working on jobs for

 SemGroup.

         60.    At all relevant times, SemGroup and/or its clients maintained control, oversight, and

 direction of Ferrell and the Putative Class Members, including, but not limited to, hiring, firing,

 disciplining, timekeeping, payroll, and other employment practices.

         61.    Ferrell’s work schedule is typical of the Putative Class Members.

         62.    SemGroup controls Ferrell and the Putative Class Members’ pay.

         63.    Likewise, SemGroup and/or its clients control Ferrell and the Putative Class Members’

 work.

         64.    Ferrell and the Putative Class Members’ work must adhere to the quality standards put in

 place by SemGroup and/or its clients.

         65.    Ferrell and the Putative Class Members are not required to possess any unique or

 specialized skillset (other than that maintained by all other workers in their respective positions) to

 perform their job duties.




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         66.     SemGroup knows Ferrell and the Putative Class Members work for at least 12 hours a

 day, for 7 days a week.

         67.     SemGroup’s records reflect the fact that Ferrell and the Putative Class Members regularly

 work far in excess of 40 hours in certain workweeks.

         68.     Ferrell and the Putative Class Members do not receive overtime for hours worked in excess

 of 40 in any of those weeks.

         69.     Instead, Ferrell and the Putative Class Members are paid on a day rate basis.

         70.     SemGroup and/or its clients set these workers’ schedules and compensation; supervises

 them; requires them to adhere to strict guidelines, directive, and its (or its clients’) policies and procedures.

         71.     SemGroup controls Ferrell and the Putative Class Members’ opportunities for profit and

 loss by dictating the days and hours they work and the rates they are paid.

         72.     SemGroup exercises control over the hours and locations Ferrell and the Putative Class

 Members work, the tools and equipment they use, and the rates of pay they receive.

         73.     Even though Ferrell and the Putative Class Members work away from SemGroup’s offices

 without the constant presence of SemGroup supervisors, SemGroup still controls significant aspects of

 their job activities by enforcing mandatory compliance with its (or its clients’) policies and procedures.

         74.     The daily and weekly activities of Ferrell and the Putative Class Members are routine and

 largely governed by standardized plans, procedures, and checklists created by SemGroup.

         75.     SemGroup prohibits Ferrell and the Putative Class Members from varying their job duties

 outside of the predetermined parameters and requires Ferrell and the Putative Class Members to follow

 SemGroup’s (or its clients’) policies, procedures, and directives.

         76.     All of the Putative Class Members perform similar job duties and are subjected to the same

 or similar policies and procedures which dictate the day-to-day activities they perform.




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           77.   All of the Putative Class Members work similar hours and are denied overtime as a result

 of the same illegal pay practice.

           78.   All of the Putative Class Members work in excess of 40 hours each week.

           79.   SemGroup uniformly denies Ferrell and the Putative Class Members overtime for the

 hours they work in excess of 40 hours in a single workweek.

           80.   Ferrell and the Putative Class Members do not, and have never, received guaranteed

 weekly compensation irrespective of the day worked (i.e., the only compensation they receive is the day

 rate they are assigned for all hours worked in a single day or week).

           81.   SemGroup knew Ferrell and the Putative Class Members worked more than 40 hours in

 a week.

           82.   SemGroup knew, or showed reckless disregard for whether, the Putative Class Members

 were not exempt from the FLSA’s overtime provisions.

           83.   Nonetheless, Ferrell and the Putative Class Members were not paid overtime.

           84.   SemGroup knew, or showed reckless disregard for whether, the conduct described in this

 Complaint violated the FLSA.

                                     COLLECTIVE ACTION ALLEGATIONS

           85.   Ferrell brings this claim as a collective action under the FLSA.

           86.   The Putative Class Members were victimized by SemGroup’s pattern, practice, and/or

 policy which is in willful violation of the FLSA.

           87.   Other Putative Class Members worked with Ferrell and indicated they were paid in the

 same manner (a day rate with no overtime) and performed similar work.

           88.   Based on his experiences with SemGroup, Ferrell is aware that SemGroup’s illegal

 practices were imposed on the Putative Class Members.

           89.   The Putative Class Members are similarly situated in all relevant respects.

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         90.     The Putative Class Members are blue-collar workers.

         91.     Even if their precise job duties might vary somewhat, these differences do not matter for

 the purposes of determining their entitlement to overtime.

         92.     The illegal day rate policy that SemGroup imposes on Ferrell is likewise imposed on all

 Putative Class Members.

         93.     Numerous individuals are victimized by this pattern, practice, and policy which is in willful

 violation of the FLSA.

         94.     The Putative Class Members are similarly denied overtime when they work more than 40

 hours per week.

         95.     The overtime owed to Ferrell and the Putative Class Members will be calculated using the

 same records and using the same formula.

         96.     Ferrell’s experiences are therefore typical of the experiences of the Putative Class

 Members.

         97.     The specific job titles or precise job locations of the various members of the Putative Class

 do not prevent collective treatment.

         98.     Ferrell has no interests contrary to, or in conflict with, the Putative Class Members that

 would prevent collective treatment.

         99.     Like each Putative Class Member, Ferrell has an interest in obtaining the unpaid overtime

 wages owed under state and/or federal law.

         100.    A collective action, such as the instant one, is superior to other available means for fair

 and efficient adjudication of the lawsuit.

         101.    Absent a collective action, many Putative Class Members will not obtain redress of their

 injuries and SemGroup will reap the unjust benefits of violating the FLSA.




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         102.    Further, even if some of the Putative Class Members could afford individual litigation

 against SemGroup, it would be unduly burdensome to the judicial system.

         103.    Concentrating the litigation in one forum will promote judicial economy and parity among

 the claims of the Putative Class Members, as well as provide judicial consistency.

         104.    The questions of law and fact that are common to each Putative Class Member

 predominate over any questions affecting solely the individual members.

         105.    Among the common questions of law and fact are:

                 a. Whether SemGroup employed the Putative Class Members within the meaning of the

                     FLSA;

                 b. Whether SemGroup’s decision to pay a day rate with no overtime compensation to

                     these workers was made in good faith;

                 c. Whether SemGroup’s violation of the FLSA was willful; and

                 d. Whether SemGroup’s illegal pay practice applied to the Putative Class Members.

         106.    Ferrell and the Putative Class Members sustained damages arising out of SemGroup’s

 illegal and uniform employment policy.

         107.    Ferrell knows of no difficulty that will be encountered in the management of this litigation

 that would preclude its ability to go forward as a collective action.

         108.    Even if the issue of damages were somewhat individual in character, the damages can be

 calculated by reference to SemGroup’s records, and there is no detraction from the common nucleus of

 liability facts. Therefore, this issue does not preclude collective treatment.

         109.    SemGroup is liable under the FLSA for failing to pay overtime to Ferrell and the Putative

 Class Members.




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         110.    Consistent with SemGroup’s illegal day rate policy, Ferrell and the Putative Class Members

 were not paid the proper premium overtime compensation when they worked more than 40 hours in a

 workweek.

         111.    As part of their regular business practices, SemGroup intentionally, willfully, and

 repeatedly engaged in a pattern, practice, and/or policy of violating the FLSA with respect to Ferrell and

 the Putative Class Members.

         112.    SemGroup’s illegal day rate policy deprived Ferrell and the Putative Class Members of the

 premium overtime wages they are owed under federal law.

         113.    SemGroup is aware, or should have been aware, that the FLSA required it to pay Ferrell

 and the Putative Class Members overtime premiums for all hours worked in excess of 40 hours per

 workweek.

         114.    There are many similarly situated Putative Class Members who have been denied overtime

 pay in violation of the FLSA who would benefit from the issuance of a court-supervised notice of this

 lawsuit and the opportunity to join it.

         115.    This notice should be sent to the Putative Class Members pursuant to 29 U.S.C. § 216(b).

         116.    Those similarly situated employees are known to SemGroup, are readily identifiable, and

 can be located through SemGroup’s records.

                                              CAUSE OF ACTION
                                           VIOLATION OF THE FLSA

         117.    Ferrell realleges and incorporates by reference all allegations in preceding paragraphs.

         118.    Ferrell brings his FLSA claim as a collective action under 29 U.S.C. § 216(b).

         119.    SemGroup violated, and is violating, the FLSA by failing to pay Ferrell and the Putative

 Class Members overtime.

         120.    SemGroup misclassified the Plaintiff and Putative Class Members for purposes of the

 FLSA overtime requirements.
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          121.   SemGroup cannot meet its burden to demonstrate the Plaintiff and Putative Class

 Members are exempt from overtime under the administrative exemption.

          122.   SemGroup cannot meet its burden to demonstrate the Plaintiff and Putative Class

 Members are exempt from overtime under the executive exemption.

          123.   SemGroup cannot meet its burden to demonstrate the Plaintiff and Putative Class

 Members are exempt from overtime under the professional exemption.

          124.   SemGroup cannot meet its burden to demonstrate the Plaintiff and Putative Class

 Members are exempt from overtime under the highly compensated exemption.

          125.   SemGroup misclassified the Plaintiff and Putative Class Members as contractors.

          126.   SemGroup failed to guarantee the Plaintiff and Putative Class Members a salary.

          127.   SemGroup failed to pay the Plaintiff and Putative Class Members overtime.

          128.   SemGroup paid the Plaintiff and Putative Class Members a day rate.

          129.   SemGroup knowingly, willfully, or in reckless disregard carried out this illegal pattern or

 practice of failing to pay the Putative Class Members overtime compensation.

          130.   SemGroup’s failure to pay overtime compensation to these employees was neither

 reasonable, nor was the decision not to pay overtime made in good faith.

          131.   Accordingly, Ferrell and the Putative Class Members are entitled to overtime wages under

 the FLSA in an amount equal to 1.5 times their rate of pay, plus liquidated damages, attorney’s fees and

 costs.

                                               JURY DEMAND

          132.   Ferrell demands a trial by jury.

                                                    PRAYER

          WHEREFORE, Ferrell, individually, and on behalf of the Putative Class Members respectfully

 requests that this Court grant the following relief:

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             a. An order designating this lawsuit as a collective action and authorizing notice pursuant

                to 29 U.S.C. § 216(b) to the Putative Class Members to permit them to join this action

                by filing a written notice of consent;

             b. A judgment against SemGroup awarding Ferrell and the Putative Members all their

                unpaid overtime compensation and an additional, equal amount, as liquidated

                damages;

             c. Issuance of a declaratory judgment that the practices complained of in this Complaint

                are unlawful under the FLSA;

             d. An order awarding attorneys’ fees, costs, and expenses;

             e. Pre- and post-judgment interest at the highest applicable rates; and

             f. Such other and further relief as may be necessary and appropriate.


                                            Respectfully submitted,

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